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7
                          UNITED STATES DISTRICT COURT
8
                        SOUTHERN DISTRICT OF CALIFORNIA
9
10                                          Case: 3:20-cv-00629-AJB-AGS
       Chris Langer,
11
               Plaintiff,                   Plaintiff’s Opposition to
12                                          Defendant;’ Veler’s Motion to
         v.                                 Dismiss
13
       Donnabelle Veler, in individual      Date: August 27, 2020
14     and representative capacity as       Time: 2:30 p.m.
       trustee of the Donnabella Veler
15     Revocable Trust dated 1/25/2001;     Ctrm: 4A
       Lux Evergreen, Inc., a California
16     Corporation; and Does 1-10,          Hon. Anthony J. Battaglia
17             Defendants.
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            A. There are no novel or complex issues of state law. ........................13
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25      Property, and the Administration of Justice, 101st Cong., 2d Sess. at 708
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1           MEMORANDUM OF POINTS AND AUTHORITIES
2
3        I. Preliminary statement
4          Veler argues that the ADA claim for relief against her is moot as she has
5    sold the property after the lawsuit was ﬁled. Assuming the sale is accurate,
6    this would be a true statement. The only remedy remaining against Veler
7    would be under the Unruh Civil Rights Act. But this Court continues to
8    have pendent party jurisdiction over Veler as there remains a valid ADA
9    claim against Defendant Lux Evergreen.
10         Additionally, Veler moves this Court to dismiss the entire complaint on
11   the basis that Langer has not suﬃciently alleged an injury in fact or,
12   alternatively, to decline to exercise supplemental jurisdiction over the state
13   claims for a variety of reasons. But Langer has suﬃciently met the Rule 8
14   pleading requirements, has suﬃciently alleged an injury in fact, and there
15   is no basis for declining to exercise supplemental jurisdiction.
16
17       II. Even if Veler has sold the property, this Court has
             jurisdiction over Veler given the continued viability o
18           the ADA claim against Lux Evergreen
19           When a district court has original jurisdiction over a case, it also
20   enjoys supplemental jurisdiction over the state claims even if those state
21   claims involve joining “additional parties” that are not part of the federal
22   claim. 1 This is called supplemental or pendent party jurisdiction.
23   Supplemental or pendent party jurisdiction is constitutional so long as the
24   state law claim is part of the same case or controversy as the federal claim. 2
25   The Westlaw headnote 13 for the Mendoza case summarizes the holding
26
27
     1
       28 U.S.C. § 1367(a).
28
     2
       Mendoza v. Zirkle Fruit Co., 301 F.3d 1163, 1174 (9th Cir. 2002).
                                            1
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1    more succinctly than the decision itself: “A district court does not violate
2    the Constitutional article governing the judiciary if it exercises
3    supplemental subject matter jurisdiction involving a party over whom
4    there is no independent basis for federal court jurisdiction, provided that
5    the federal and state claims form but one constitutional case and derive
6    from a common nucleus of operative fact.”
7
8
     III. The Complaint sufficiently alleges an “injury in fact.”
9         Veler’s argument that Langer must allege all sorts of
          evidentiary-level details demonstrates a
10        misunderstanding of the law.
11          Langer has met the Rule 8 standard for explaining how the alleged
12   barriers caused him injury in fact. Langer alleges that he is a paraplegic
13   who uses a wheelchair for mobility and has a van with a ramp. 3 He alleges
14   that Lux Evergreen owns and operates The Kar Place at 900 W. Mission
15   Ave, Escondido and that Veler owned property in March of 2020. 4 Langer
16   alleges that he went to the Kar Place in March of 2020 to avail himself of
17   its goods. 5 He alleges that the defendants “failed to provide wheelchair
18   accessible parking” for “wheelchair users like the plaintiﬀ.” 6 Langer
19   alleges that this barrier “relates to and impacts the plaintiﬀ’s disability: and
20   that he “personally encountered these barriers” and it caused him
21   “diﬃculty and discomfort.” 7 Finally, Langer alleged that he will return to
22
23
24
     3
25     Complaint (Docket Entry 1), ¶ 1.
     4
26     Complaint (Docket Entry 1), ¶¶ 2-5.
     5
27     Complaint (Docket Entry 1), ¶ 10.
     6
       Complaint (Docket Entry 1), ¶¶ 12.
28
     7
       Complaint (Docket Entry 1), ¶¶ 14-16.
                                            2
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1    the business to shop once it has been represented to him that the facilities
2    are accessible but is deterred from doing so until then. 8
3          As discussed below, “injury in fact” under the ADA means a denial
4    of “full and equal” access and this is deﬁned, simply, as encountering a
5    “barrier,” i.e., a violation of an ADA Access Standard. It is an objective test
6    and has been adequately pled in this case. The general rule under the ADA
7    is that a person with a disability shall not be discriminated against “in the
8    full and equal enjoyment of the goods, services, facilities, privileges,
9    advantages, or accommodations of any place of public accommodation . .
10   . .” 9 The Ninth Circuit has held that the phrase “full and equal” is a term of
11   art, having speciﬁc reference to the ADA Access Standards. 10 Sitting en
12   banc, the Chapman court held:
13
           Because the ADAAG establishes the technical standards
14
           required for “full and equal enjoyment,” if a barrier violating
15
           these standards relates to a plaintiff's disability, it will impair
16
           the plaintiff's full and equal access, which constitutes
17
           “discrimination” under the ADA. That discrimination
18
           satisfies the “injury-in-fact” element of Lujan. As we have
19
           held, once a disabled plaintiff has encountered a barrier
20
           violating the ADA, “that plaintiff will have a ‘personal stake
21
           in the outcome of the controversy’ so long as his or her suit is
22
           limited to barriers related to that person's particular
23
           disability.”
24
25
     8
26     Complaint (Docket Entry 1), ¶ 20.
     9
27     42 U.S.C.A. § 12182(a).
     10
28
        Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 947 (9th Cir.
           2011).
                                           3
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1                        [Chapman, 631 F.3d at 947.]
2          This is not to say that any violation of the ADA Standards is
3    actionable by Langer. The Chapman court explains that the barrier must
4    relate to the plaintiﬀ’s “particular disability.” 11 The example given by the
5    Chapman court was that while a “blind person would have standing to
6    assert an ADA violation” for the lack of Braille, a wheelchair user would
7    not. 12 But the Chapman court was also clear that a wheelchair user has
8    standing to sue for all barriers that relate to wheelchair users without having
9    to detail how such a barrier personally aﬀected him. It is an objective test.
10   The Chapman court explains :“Where the barrier is related to the particular
11   plaintiﬀ's disability, however, an encounter with the barrier necessarily
12   injures the plaintiﬀ by depriving him of full and equal enjoyment of the
13   facility.” 13 The Chapman court held that this is a straight-forward test:
14
           A disabled person who encounters a “barrier,” i.e., an
15
           architectural feature that fails to comply with an ADAAG
16
           standard relating to his disability, suffers unlawful
17
           discrimination as defined by the ADA. 42 U.S.C. §
18
           12182(b)(1)(A)(i). Indeed, by “establish[ing] a national
19
           standard for minimum levels of accessibility in all new
20
           facilities,” Indep. Living Res., 982 F.Supp. at 714, the ADAAG
21
           removes the risk of vexatious litigation that a more subjective
22
           test would create.
23
24         Those responsible for new construction are on notice that if
25         they comply with the ADAAG's objectively measurable
26
     11
27      Chapman, 631 F.3d at 947.
     12
        Chapman, 631 F.3d at 947, fn. 4.
28
     13
        Chapman, 631 F.3d at 947, fn. 4 (emphasis added).
                                           4
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1           requirements, they will be free from suit by a person who has
2           a particular disability related to that requirement.
3
                          [Chapman, 631 F.3d at 948, fn. 5.]
4
5           In other words, if it is a barrier that relates to wheelchair users,
6    Langer has standing to see it removed. In this case, the barrier is a lack of
7    wheelchair accessible parking and Langer speciﬁcally alleged that it relates
8    to his disability.
9           Thus, not only did Langer encounter a barrier that aﬀects
10   wheelchair users like himself, he alleged that it caused him diﬃculty and
11   discomfort. He has standing to challenge this barrier. Langer does not have
12   to explain or provide even greater detail about how it caused him diﬃculty
13   or discomfort at the pleading stage.
14          Nor does Langer need to claim that it completely denied him access.
15   This is because the ADA’s mandate is not “mere access to public facilities”
16   but a guarantee of a certain quality of access. 14 As this very court, the
17   Honorable Anthony J. Battaglia succinctly noted, “The standard cannot be
18   is access achievable in some manner. We must focus on the equality of access.
19   If a ﬁnding that ultimate access could have been achieved provided a
20   defense, the spirit of the law would be defeated. It is clear, that the
21   legislative purpose behind these disability access laws would not support
22   such a ﬁnding.” 15
23          Obviously, how much a barrier aﬀects a plaintiﬀ is relevant for a
24   damage analysis but it is simply not relevant for ADA standing. The ADA
25   Standards set the benchmark about what constitutes “full and equal
26
     14
27      Baughman v. Walt Disney World Co., 685 F.3d 1131, 1135 (9th Cir.
           2012).
28
     15
        Boemio v. Love’s Restaurant, 954 F.Supp. 204, 208 (S.D. CA 1997).
                                            5
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1    access.” As one court stated, “The legislature has drawn clear lines with
2    respect to what is legal and what is illegal, and it is not for a court to
3    arbitrarily decide which violations are serious enough to warrant relief.” 16
4    Chapman’s holding can be summed up by this simple phrase: “encounters
5    with the noncompliant barriers related to one's disability are suﬃcient to
6    demonstrate an injury-in-fact for standing purposes.” 17
7          Furthermore, Langer’s allegation that he is currently deterred from
8    returning because of his knowledge of the barriers there provides yet
9    another basis for ADA standing. And the Supreme Court has explained
10   that the degree of evidence regarding standing diﬀers depending on the
11   stage of the case:
12
           At the pleading stage, general factual allegations of injury
13
           resulting from the defendant's conduct may suffice, for on a
14
           motion to dismiss we presume that general allegations
15
           embrace those specific facts that are necessary to support the
16
           claim. In response to a summary judgment motion, however,
17
           the plaintiff can no longer rest on such mere allegations, but
18
           must set forth by affidavit or other evidence specific facts,
19
           which for purposes of the summary judgment motion will be
20
           taken to be true. And at the final stage, those facts (if
21
           controverted) must be supported adequately by the evidence
22
           adduced at trial.
23
24                [Lujan v. Defenders of Wildlife, 504 U.S. 555,
25                560 (1992).]
26
     16
27      Wilson v. Haria & Gogri Corp., 479 F. Supp. 2d 1127, 1140 (E.D. Cal.
            2007).
28
     17
        Chapman, 631 F.3d at 948.
                                          6
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1          According to the Ninth Circuit, at the pleading stage, only the
2    “minimal allegations” that “a plaintiﬀ has visited a public accommodation
3    on a prior occasion and is currently deterred from visiting that
4    accommodation by accessibility barriers” are suﬃcient to “establish that a
5    plaintiﬀ's injury is actual or imminent.” 18 That is exactly what Langer has
6    pled in this case. As the Wilson court notes, this does not mean that
7    complaint allegations will “survive a factual attack” but they are suﬃcient
8    at the pleading stage. 19
9          And just recently, the Ninth Circuit weighed in again on the topic. In
10   Civ. Rights Educ., 20 several disabled plaintiﬀs sued a hotel chain for
11   inaccessibility under the ADA. They did not have any concrete or speciﬁc
12   plans to return and the defendants argued that it was not enough to say that
13   “they do not plan to stay at the hotels unless and until [defendant]
14   remedies the violation.” 21 But the Ninth Circuit rejected the defense
15   argument: “The Named Plaintiﬀs need not intend to visit the hotels until
16   after remediation” because “under the ADA, once a plaintiﬀ has actually
17   become aware of discriminatory conditions existing at a public
18   accommodation, and is thereby deterred from visiting or patronizing that
19   accommodation, the plaintiﬀ has suﬀered an injury [that] continues so
20   long as equivalent access is denied.” 22
21         “The Supreme Court has instructed us to take a broad view of
22   constitutional standing in civil rights cases, especially where, as under the
23
24   18
        Wilson v. Kayo Oil Co., 563 F.3d 979, 980 (9th Cir. 2009).
25   19
        Wilson, 563 F.3d at 980.
26   20
        Civ. Rights Educ. and Enf't Ctr. v. Hosp. Properties Tr., 867 F.3d 1093 (9th
27           Cir. 2017)
28
     21
        Civ. Rights Educ., 867 F.3d at 1100.
     22
        Civ. Rights Educ., 867 F.3d at 1100-1101.
                                           7
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1    ADA, private enforcement suits are the primary method of obtaining
2    compliance with the Act.” 23 In ADA cases, standing should be conferred
3    even “to the outermost limits of Article III.” 24 Thus, “[a]llegations that a
4    plaintiﬀ has visited a public accommodation on a prior occasion and is
5    currently deterred from visiting that accommodation by accessibility
6    barriers establish that a plaintiﬀ's injury is actual or imminent.” 25 And the
7    Ninth Circuit has held that alleging “a desire to visit the accommodation if
8    it were made accessible” is suﬃcient. 26
9             The complaint is suﬃciently pled. Langer alleges that he will return
10   to the business to both “avail himself of its goods and to determine
11   compliance with the disability access laws” but only “once it is represented
12   to him” that the business is accessible. 27 Until then, Langer is deterred
13   from returning due to “his knowledge of the existing barriers and his
14   uncertainty about the existence of yet other barriers on the site.” 28 This is
15   the same language that the Ninth Circuit has found suﬃcient to state a
16   claim.
17
18
19
20
21
     23
22      Doran v. 7-Eleven, Inc., 524 F.3d 1034, 1-39-1040 (9th Cir. 2008),
23
            quoting, Traﬃcante v. Metro. Life Ins. Co., 409 U.S. 205, 209
            (1972).
24   24
        Kyles v. J.K. Guardian Sec. Servs., 222 F.3d 289, 294 (7th Cir. 2000).
25   25
        Doran, 524 F.3d at 1041
     26
26      D'Lil v. Best W. Encina Lodge & Suites, 538 F.3d 1031, 1037 (9th Cir.
27          2008) .
28
     27
        Complaint (Docket Entry 24), ¶ 18.
     28
        Complaint (Docket Entry 24), ¶ 18.
                                            8
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1    IV. Veler’s argument that Langer’s allegation lacks
         credibility due to his history of filing ADA lawsuits
2        misreads the law.
3          Veler also argues that: “Plaintiﬀ’s ﬁling history makes his claimed
4    intent to return lack credibility.” 29 The exact opposite is true. The Ninth
5    Circuit has recent held that ADA “testers”—folks actively looking for non-
6    complying businesses—have full standing. In Civ. Rights Educ., the Ninth
7    Circuit had to grapple with the question of “whether a plaintiﬀ has
8    constitutional standing where her only motivation for visiting a facility is
9    to test it for ADA compliance.” 30 After a thorough analysis of the various
10   circuits that have found that ADA plaintiﬀs have “tester” standing, the
11   Ninth Circuit found “as a matter of ﬁrst impression, a plaintiﬀ suing under
12   Title III of the ADA can claim tester standing; plaintiﬀs' status as testers,
13   rather than bona ﬁde hotel patrons, [does] not deprive them of standing.” 31
14   And the reason is simple: “motivation is irrelevant to the question of
15   standing under Title III of the ADA.” 32
16         And this makes sense. Regardless of the reason for going to a public
17   place, a person with a disability has a right to be free from discrimination
18   and to enjoy barrier-free facilities. It is no defense to an unlawful-
19   discrimination charge to cry, “but you were looking for a violation” or “you
20   were hoping we broke the law.”
21         Langer alleged in this complaint that he “will return to The Kar Place
22   to avail himself of its goods or services and to determine compliance with the
23   disability access laws once it is represented to him that The Kar Place and its
24
25
     29
26      Defense PNA (Docket Entry 7-1), p. 5, lines 9-11.
27   30
        Civ. Rights Educ., 867 F.3d at 1096.
28
     31
        Civ. Rights Educ., 867 F.3d at 1093.
     32
        Civ. Rights Educ., 867 F.3d at 1102.
                                           9
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1    facilities are accessible.” 33 This is a legitimate motive. One of the cases that
2    the Ninth Circuit found persuasive in reaching its tester-standing decision
3    was Houston v. Marod. There, the Houston court held: “the tester motive
4    behind [plaintiﬀ’s] past and future visits to the Presidente Supermarket does
5    not preclude his having standing to sue for invasions of his legal rights.” 34
6           Thus, even if the plaintiﬀ’s sole motive for initially visiting the
7    business and his sole motive for making a future visit is a tester motive, he
8    still has standing. Plaintiﬀ’s allegations of dual motives for his reason to
9    return suﬃciently state a claim for standing. The fact that Langer is a tester
10   and has an extensive litigation history as a veteran tester supports his claim
11   that he will return. Langer has an important litigation reason to return: to
12   have standing. This is an entirely appropriate motivation and it stands
13   independent of proximity or preference as a person who is motivated to
14   ensure compliance will drive further and patronize even places he may not
15   have a “preference” for. Moreover, it provides additional plausibility for
16   the complaint allegations.
17
18    V. This Court has supplemental jurisdiction.
19          Under 28 U.S.C. § 1367 (“section 1367”), where a district court has
20   original jurisdiction over a claim, it also has supplemental jurisdiction over
21   “all other claims that are so related to claims in the action within such
22   original jurisdiction that they form part of the same case or controversy.” 35
23   A state claim is part of the same “case or controversy” as a federal claim
24   when the two “derive from a common nucleus of operative fact and are
25
26   33
        Complaint (Docket Entry 1), ¶ 17.
27
     34
        Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1332 (11th Cir.
            2013). (emphasis added).
28
     35
        28 U.S.C. § 1367(a).
                                            10
     Opposition to Motion to Dismiss               Case: 2:20-cv-00951-JAK-PJW
1    such that a plaintiﬀ would ordinarily be expected to try them in one judicial
2    proceeding.” 36
3          Here, Langer’s ADA and Unruh claims are inextricably intertwined.
4    A violation of the ADA is a per se violation of Unruh. 37 The incident that
5    forms the basis of both claims is identical. The witnesses are identical. All
6    the documentary evidence (photographs, measurements, declarations,
7    etc.) are identical. All the case law, regulatory material, regulations, and
8    accessibility standards necessary to demonstrate liability under both
9    claims in this case are identical. Langer’s counsel is not aware of a federal
10   and state claim more intertwined than the ADA/Unruh pair.
11         And numerous courts have recognized the inescapable conclusion
12   that these ADA/Unruh case are uniquely wedded and it makes no sense to
13   separate them. “Forcing these parties to litigate two nearly-identical cases
14   in separate venues—one here and one in state court—is neither
15   convenient, economical, nor fair.” 38 As one district judge reasoned:
16
           Here, the claims arise from a common nucleus of operative
17
           facts. Both the federal and state law claims are based upon
18
           architectural barriers which infringe upon the accessibility to
19
           the OSH Store. Accordingly, this Court has supplemental
20
           jurisdiction over the state law claims. The Court will exercise
21
           supplemental jurisdiction over the state law claims. Here, the
22
           state issues are not unsettled or novel and complex. Plaintiff's
23
24   36
        Kuba v. 1-A Agr. Ass'n, 387 F.3d 850, 855-56 (9th Cir. 2004), quoting
25          United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 725, 86 S.Ct.
26          1130, 16 L.Ed.2s 218 (1966).
     37
27      Cal. Civ. Code § 51(f).
     38
28
        Baker v. Palo Alto University, Inc., 2014 WL 631452, *2 (N.D. Cal.,
            2014)
                                          11
     Opposition to Motion to Dismiss             Case: 2:20-cv-00951-JAK-PJW
1          state and federal law claim involve the identical nucleus of
2          operative facts, and require a very similar, if not identical,
3          showing in order to succeed. If this court forced plaintiff to
4          pursue his state law claims in state court, the result would be
5          two highly duplicative trials, constituting an unnecessary
6          expenditure of plaintiff's, defendant's, and the two courts'
7          resources.
8                 [Delgado v. Orchard Supply Hardware Corp., 826
                  F. Supp. 2d 1208, 1221 (E.D. Cal. 2011).]
9
10
           Yet another district court presented a lengthy analysis of the issue
11
     and concluded that fairness favored keeping the Unruh claim in federal
12
     court “rather than in a separate, and largely redundant, state-court suit.” 39
13
     Another court held that supplemental jurisdiction should be exercised
14
     where “declining jurisdiction would simply require twice the expenditure
15
     of resources as to the evidentiary determinations.” 40 Yet another court’s
16
     framing of the analysis for an ADA/Unruh paired case states that
17
     supplemental jurisdiction should be exercised to avoid “two parallel
18
     proceedings, one in federal court and one in the state system.” 41
19
           Thus, there is no escaping the fact that the ADA and Unruh claims
20
     “both involve identical alleged facts, witnesses, and evidence.” 42 Courts
21
     have said it makes no sense to ﬁnd otherwise. “The state and federal claims
22
     are so intertwined that it makes little sense to decline supplemental
23
24   39
        Kohler v. Rednap, Inc., 794 F. Supp. 2d 1091, 1096 (C.D. Cal. 2011).
25   40
        Daenzer v. Wayland Ford, Inc., 193 F. Supp. 2d 1030, 1043 (W.D. Mich.
26          2002).
     41
27      Borough of W. Miﬄin v. Lancaster, 45 F.3d 780, 787 (3d Cir. 1995).
     42
28
        Schoors v. Seaport Village Operating Co., LLC, 2017 WL 1807954, *4
            (S.D. Cal. May 5, 2017).
                                          12
     Opposition to Motion to Dismiss              Case: 2:20-cv-00951-JAK-PJW
1    jurisdiction. To do so would create the danger of multiple suits, courts
2    rushing to judgment, increased litigation costs, and wasted judicial
3    resources.” 43 Thus, it is not surprising that district courts “routinely
4    exercise jurisdiction over supplemental claims under the UCRA.” 44
5
6
7    VI. The state claims do not predominate, there are no novel
         or complex state issues, and there are no exceptional
8        circumstances to justify declining to exercise
         supplemental jurisdiction.
9              Under section 1367(c), a court may decline to exercise
10   supplemental jurisdiction over a related state claim only if: “(1) the claim
11   raises a novel or complex issue of State law, (2) the claim substantially
12   predominates over the claim or claims over which the district court has
13   original jurisdiction, (3) the district court has dismissed all claims over
14   which it has original jurisdiction, or (4) in exceptional circumstances, there
15   are other compelling reasons for declining jurisdiction.” 45 None of those
16   factors are present here.
17
18        A.      There are no novel or complex issues of state law.
19             Veler does not identify any novel or complex state law issues and,
20   therefore, Langer cannot address any such claim. Nonetheless, the courts
21   that have analyzed the issue note that: ““[C]ourts routinely exercise
22   jurisdiction over supplemental claims under the UCRA and the DPA, as
23   these types of claims do not generally raise novel or complex issues of state
24
25   43
        Moore v. Dollar Tree Stores Inc., 85 F. Supp. 3d 1176, 1194 (E.D. Cal.
26          2015).
     44
27      Kohler v. Islands Restaurants, LP, 956 F. Supp. 2d 1170, 1175 (S.D. Cal.
            2013).
28
     45
        Exec. Software, 24 F.3d at 1555-56, citing 28 U.S.C. § 1367(c).
                                           13
     Opposition to Motion to Dismiss              Case: 2:20-cv-00951-JAK-PJW
1    law.” 46 Although Veler has not raised any such issues, if the issue becomes
2    relevant, this Court may want to review a district court decision that
3    addressed—and dismantled—a number of claims that Unruh presents
4    novel or complex issues. 47
5
6         B.      The state claim for a single penalty certainly does not
                  predominate, much less “substantially” predominate in
7                 this case.
8              Veler does not identify or make any argument about how the state
9    claim substantially predominates. Instead, Veler merely references the
10   Schutza v. Cuddeback decision, apparently expecting this Court to read it
11   and ﬁgure out how it applies.
12             But the Cuddeback case is distinguishable and riddled with error.
13   First, the Cuddeback court ruled on an unopposed motion. 48 The defense
14   moved the court to dismiss Unruh (not exercise supplemental jurisdiction)
15   and the Plaintiﬀ did not oppose sending the Unruh claim to state court in
16   that case. It was odd, therefore, that the court went on to “rule on the
17   merits” in that matter. Without the beneﬁt of brieﬁng from the opposing
18   counsel, the court risked making a mistake. And the Cuddeback court made
19   a whopper of a mistake in its analysis.
20             The Cuddeback court found that there were “two main reasons” for
21   declining supplemental jurisdiction over the Unruh claim. 49 The ﬁrst
22   reason cited by Cuddeback was erroneous. The Cuddeback court noted that
23
24   46
        Kohler v. Islands Restaurants, LP, 956 F. Supp. 2d 1170, 1175 (S.D. Cal.
25          2013) (emphasis added).
     47
26      See Kohler v. Rednap, Inc., 794 F. Supp. 2d 1091, 1097 (C.D. Cal.
27          2011).
     48
        Schutza v. Cuddeback, 262 F. Supp. 3d 1025, 1027 (S.D. Cal. 2017)
28
     49
        Cuddeback, supra, at 1029.
                                           14
     Opposition to Motion to Dismiss             Case: 2:20-cv-00951-JAK-PJW
1    the plaintiﬀ had identiﬁed nine barriers in the complaint and, therefore,
2    concluded: “These nine allegations, if proven, would entitle Plaintiﬀ to a
3    minimum monetary award of $36,000. In contrast, under the ADA,
4    Plaintiﬀ would only be entitled to injunctive relief. Thus, under the
5    circumstances presented, the Court ﬁnds that the monetary damages
6    sought by Plaintiﬀ under the Unruh Act substantially predominate over
7    federal injunctive relief.” 50
8           Cuddeback was ﬂat-out wrong in this analysis. An Unruh plaintiﬀ
9    cannot recover multiple penalties merely because there are multiple
10   barriers. The statute is quite clear: “Statutory damages may be assessed
11   pursuant to subdivision (a) based on each particular occasion that the
12   plaintiﬀ was denied full and equal access, and not upon the number of
13   violations of construction-related accessibility standards identiﬁed at the
14   place of public accommodation where the denial of full and equal access
15   occurred.” 51
16          The second reason relied upon by the Cuddeback was that the
17   plaintiﬀ had a stand-alone Unruh claim and, therefore, needed to prove
18   intentional conduct. “Plaintiﬀ places intentionality at the heart of his
19   claims for relief . . . resolving the issue of intentional discrimination entails
20   application of state-law standards . . . bolster[ing] the conclusion that his
21   Unruh Act claim substantially predominates over his ADA claim.” 52 In the
22   present case, however, Langer does not have a stand-alone Unruh claim.
23   Langer’s Unruh claim is predicated upon the ADA. 53 Thus, Langer does
24   not need to prove intent, has not alleged intentional discrimination, and
25
     50
26      Cuddeback, supra, at 1029-30.
     51
27      Cal. Civ. Code § 55.56(e)
     52
        Cuddeback, supra, at 1030.
28
     53
        Complaint (Docket Entry 1), ¶ 32.
                                            15
     Opposition to Motion to Dismiss               Case: 2:20-cv-00951-JAK-PJW
1    intent is not “at the heart” of his case: “A plaintiﬀ who establishes a
2    violation of the ADA, therefore, need not prove intentional discrimination
3    in order to obtain damages under section 52.” 54
4
5
          C.       There are no exceptional circumstances or compelling
6                  reasons.
7              Veler accurately identiﬁes the fact that there are “[s]everal judges in
8    the Central District now routinely ﬂag construction-related access cases
9    with sua sponte orders” regarding supplemental jurisdiction and then
10   dismiss the state claims. These decisions are on appeal. The ﬁrst one was
11   argued to the Ninth Circuit on July 8, 2020. 55              The detailed and
12   comprehensive brieﬁng on that topic cannot be reproduced here due to
13   length constraints but is available from PACER for the Ninth Circuit case.
14             In short, however, these district court judges have identiﬁed ADA
15   plaintiﬀ’s “forum shopping” and choosing federal court over state court as
16   evasive, abusive, and an end-run around state court procedures, ﬁnding
17   such decisions to be an exceptional circumstance. But this simply cannot
18   withstand scrutiny.
19             It is a long-established fact that when a party has a legitimate basis
20   for federal jurisdiction, “his motive in preferring a Federal tribunal is
21   immaterial.” 56 In fact, “the cases are numerous in which it has been
22   decided that the motives of litigants in seeking Federal jurisdiction are
23
24
25
     54
26      Munson v. Del Taco, Inc., 46 Cal. 4th 661, 665 (2009).
     55
27      Arroyo v. Rosas, Ninth Circuit Case No. 19-55974.
     56
28
        City of Chicago v. Mills, 204 U.S. 321, 330, 27 S. Ct. 286, 289, 51 L.
            Ed. 504 (1907).
                                             16
     Opposition to Motion to Dismiss                 Case: 2:20-cv-00951-JAK-PJW
1    immaterial.” 57 Thus, “We need not concern ourselves with why these
2    parties prefer to be in federal court so long as there is a legitimate basis for
3    jurisdiction.” 58
4           Not only are a plaintiﬀ’s motives for choosing one legitimate forum
5    over another “immaterial,” but even if such motives were expressly and
6    explicitly to avoid burdensome state court procedural rules, there is
7    nothing wrong with this motive. As the Supreme Court has noted, there is
8    nothing improper with “the litigation strategy of countless plaintiﬀs who
9    seek a forum with favorable substantive or procedural rules or sympathetic
10   local populations.” 59
11          Most courts understand this obvious and established principle. That
12   is why most federal judges respond to cries of “forum-shopping” with
13   something akin to Judge M. James Lorenz’s recent holding:
14
            Finally, Defendant argues under the catchall subsection
15
            (c)(4) that Plaintiff is forum shopping to avoid the procedural
16
            hurdles under state law, and that this creates “exceptional
17
            circumstances” and “compelling reasons for declining
18
            jurisdiction.” 28 U.S.C. § 1367(c)(4). “Declining jurisdiction
19
            outside the subsection (c)(1)–(3) should be the exception,
20
            rather than the rule.” Exec. Software, 24 F.3d at 1558. This
21
            would occur “only if the circumstances are quite unusual.” Id.
22
23
     57
        Wheeler v. City & Cty. of Denver, 229 U.S. 342, 351, 33 S. Ct. 842, 844,
24
             57 L. Ed. 1219 (1913).
25   58
        In re Aircrash Disaster Near Roselawn, Indiana on October 31, 1994, 909
26           F. Supp. 1083, 1090 (N.D. Ill. 1995), aﬀ'd and remanded sub
27           nom. In re Air Crash Disaster Near Roselawn, Ind. on Oct. 31, 1994,
             96 F.3d 932 (7th Cir. 1996).
28
     59
        Keeton, 465 U.S. at 778–79.
                                           17
     Opposition to Motion to Dismiss               Case: 2:20-cv-00951-JAK-PJW
1          That procedure in state court differs from procedure in
2          federal court, and that the plaintiff may select the forum
3          based on her preference is not an unusual circumstance. It
4          has long been decided that federal procedural rules govern in
5          federal court regardless of their effect on state substantive
6          rights. See Shady Grove Orthopedic Assoc., P.A. v. Allstate Ins.
7          Co., 559 U.S. 393, 409-10, 130 S.Ct. 1431, 176 L.Ed.2d
8          311 (2010) (discussing Hanna v. Plumer, 380 U.S. 460, 85
9          S.Ct. 1136, 14 L.Ed.2d 8 (1965), among other authorities).
10
11         Furthermore, the plaintiff is “the master of the claim,” and by
12         pleading can either subject him– or herself to, or avoid,
13         federal jurisdiction. See, e.g., Caterpillar, Inc. v. Williams, 482
14         U.S. 386, 392, 107 S.Ct. 2425, 96 L.Ed.2d 318 (1987); see
15         also cases cited therein. Even if the Court were to conclude
16         that this case presents exceptional circumstances and
17         compelling reasons, it would also have to conclude that
18         dismissal would best “accommodate the values of economy,
19         convenience, fairness, and comity.” Exec. Software, 24 F.3d
20         at 1557 (quoting Carnegie-Mellon Univ. v. Cohill, 484 U.S.
21         343, 351, 108 S.Ct. 614, 98 L.Ed.2d 720 (1988)); see also
22         Exec. Software, 24 F.3d at 1558. For the reasons stated above,
23         dismissing state law claims would not accommodate any of
24         those values.
25
                [White v. Wisco Restaurants, Inc., 2018 WL
26
                1510611, at *4 (S.D. Cal. Mar. 27, 2018).]
27
28


                                           18
     Opposition to Motion to Dismiss              Case: 2:20-cv-00951-JAK-PJW
1           Or, as another court stated when rejecting a claim of improper-
2    forum shopping:
3
4           First, the fact that Plaintiff is “forum shopping” by filing suit
5           in this Court rather than state court does not constitute a
6           “compelling reason” for declining jurisdiction. There is no
7           reason why Plaintiff should have to file his claims in state
8           court instead. This sort of forum-shopping is commonplace
9           among plaintiffs and removing defendants alike and is not an
10          ‘exceptional’ circumstance giving rise to compelling reasons
11          for declining jurisdiction, as required by section 1367(c)(4).
12
                   [Kohler v. Rednap, 794 F. Supp. 2d at 1096.]
13
14          Some judges would even reject the phrase “forum-shopping”
15   entirely in this context:
16
            Of course the plaintiff may elect to bring the entire action in
17
            state court rather than federal court where concurrent
18
            jurisdiction exists. However, the choice to proceed with a
19
            federal claim in federal court is not forum shopping, but the
20
            exercise of a congressionally recognized federal right. The
21
            lack of prejudice to the defendant by the availability of the
22
            federal forum is evident from the fact that the defendant may
23
            elect to remove a claim from state court under 28 U.S.C. §
24
            1441 (1976).
25
26                 [Hamilton v. Roth, 624 F.2d 1204, 1214, fn. 8
                   (3d Cir. 1980).]
27
28


                                           19
     Opposition to Motion to Dismiss              Case: 2:20-cv-00951-JAK-PJW
1          In sum, the Supreme Court was not wrong in Keeton when it noted
2    that there are “countless” plaintiﬀs that choose among state and federal
3    forum based on which forum has the more favorable substantive or
4    procedural rules. 60 And neither Judge Fees, nor Judge Lorenz were wrong
5    then they note that it is “commonplace” and “not an unusual
6    circumstance” for a plaintiﬀ to choose a forum based on his or her
7    preference. 61 Given that it is commonplace, entirely usual and there are
8    countless plaintiﬀs engaging in this very sort of forum-selection process,
9    how can this possibly be an “exceptional circumstance” under 1367(c)?
10         These handful of district court judges that are routinely declining to
11   exercise supplemental jurisdiction are engaged in docket clearing and
12   make no bones about it. These judges recognize the expenses and hurdles
13   that are posed by forcing a plaintiﬀ to prosecute his ADA claim in federal
14   court and then an almost identical case (same facts, witnesses, exhibits) for
15   his Unruh claim in state court. Veler cites one such decision:
16
           Schutza also urges that to decline supplemental jurisdiction
17
           here would be an inefficient use of judicial resources because
18
           two suits concerning the same facts would proceed parallel in
19
           two separate courts. But this is a problem of his own making.
20
           As discussed above, there is no relief available to Schutza in
21
           federal court that could not be secured in state court. Had he
22
           brought this suit in state court, there would have been only
23
           one suit pending and he would have been eligible to receive
24
           every form of relief he seeks: an injunction, money damages,
25
           and attorney's fees. By being “inefficient” and declining to
26
27
     60
        Keeton, 465 U.S. at 778–79.
28
     61
        White, 2018 WL 1510611, at *4; Kohler, 794 F. Supp. 2d at 1096.
                                          20
     Opposition to Motion to Dismiss             Case: 2:20-cv-00951-JAK-PJW
1           exercise supplemental jurisdiction over his state claim, this
2           Court is simply recognizing that California has a strong
3           interest in interpreting and enforcing its own rules without
4           federal courts serving as a convenient end-around for
5           creative litigants. If that results in occasional inefficiency, it's
6           a worthwhile tradeoff.
7
                   [Schutza v. Alessio Leasing, Inc., 2019 WL
8
                   1546950, at *4 (S.D. Cal. Apr. 8, 2019).]
9
10
            But this is precisely why the supplemental jurisdiction statute was
11
     enacted. District courts were doing exactly this type of thing—notably
12
     against civil rights plaintiﬀs—prior to the passage of the statute. Before the
13
     supplemental statute was enacted, the controlling precedent was United
14
     Mine Workers of Am. v. Gibbs. 62 As the Ninth Circuit explains, the Gibbs
15
     doctrine of ﬂexibility “led a number of courts to decline pendent
16
     jurisdiction in situations not mentioned speciﬁcally in Gibbs.” 63
17
            And this “very ﬂexibility” led to the “doctrine’s most severe
18
     criticism.” 64 The ﬂexibility and discretion enjoyed by the district courts
19
     often led to abuse: “many district courts in the past were hostile to pendent
20
     jurisdiction in civil rights cases and used their broad discretion to dismiss
21
22
23
     62
        United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 86 S.Ct. 1130, 16
24
            L.Ed.2s 218 (1966).
25   63
        Exec. Software N. Am., Inc. v. U.S. Dist. Court for Cent. Dist. of California,
26          24 F.3d 1545, 1553 (9th Cir. 1994), overruled on other grounds by
27          California Dep't of Water Res. v. Powerex Corp., 533 F.3d 1087 (9th
            Cir. 2008).
28
     64
        Executive Software, 24 F.3d at 1554.
                                            21
     Opposition to Motion to Dismiss                Case: 2:20-cv-00951-JAK-PJW
1    supplemental claims, often under the guise of eﬃciency and fairness.”65
2    This concern, in fact, was voiced by one of the principle drafters of section
3    1367, Prof. Thomas Mengler, who expressed trepidation at permitting
4    courts to dismiss state law claims when they “predominated” given the
5    abuses by a number of district courts with respect to civil rights cases. 66
6            Thus, the Federal Court Study Committee made an express
7    recommendation to Congress that a supplemental jurisdiction statute be
8    enacted, leading to the Judicial Improvements Act of 1990 67 and the
9    enacting of the supplemental jurisdiction statute found at 28 U.S.C. §
10   1367.
11           Section 1367(a) states that district courts “shall have supplemental
12   jurisdiction over all claims that are so related to claims in the action within
13   such original jurisdiction that they form part of the same case or
14   controversy . . .” 68 Thus, concluded the Ninth Circuit, the statute speaks
15   in “mandatory terms.” 69 This means that “unless a court properly invokes
16   a section 1367(c) category . . . supplemental jurisdiction must be
17
18
19
20
     65
21      Denis F. McLaughlin, The Federal Supplemental Jurisdiction Statute--A
22          Constitutional and Statutory Analysis, 24 Ariz. St. L.J. 849, 993
            (1992)
23
     66
        Federal Courts Study Committee Implementation and Civil Justice Report
24
            Act: Hearings on H.R. 5381 Before the Subcomm. on Courts,
25          Intellectual Property, and the Administration of Justice, 101st Cong.,
26          2d Sess. at 708 (1991) (the letter of Prof. Thomas M. Mengler).
     67
27      Pub. L. No. 101-650, 104 Stat. 5089.
     68
        Executive Software, 24 F.3d at 1555 (emphasis in original).
28
     69
        Executive Software, 24 F.3d at 1555.
                                           22
     Opposition to Motion to Dismiss              Case: 2:20-cv-00951-JAK-PJW
1    asserted.” 70 The “consequence of the statutory structure,” therefore
2    “changes the nature of the Gibbs discretionary inquiry.” 71
3           The district court still enjoys discretion, but such discretion is to be
4    exercised only after one of the four statutory bases are found. “Congress
5    intended the exercise of discretion to be triggered by the court’s
6    identiﬁcation of a factual predicate that corresponds to one of the section
7    1367(c) categories.” 72 As the Ninth Circuit notes, it is only after the factual
8    predicate exists that the district court then exercises discretion when
9    applying the Gibbs factors. “Once that factual predicate is identiﬁed, the
10   exercise of discretion, of course, still is informed by whether remanding
11   the pendent state claims comport with . . . the values of economy,
12   convenience, fairness, and comity.” 73
13          If there was no section-1367-supplemental-jurisdiction statute that
14   framed supplemental jurisdiction in mandatory terms, but simply gave
15   district courts unfettered discretion, consider the quandary that a plaintiﬀ
16   would face if a court did not like his type of case:
17
            Without supplemental jurisdiction, a plaintiff with a valid
18
            federal law claim could not assert in a federal court action a
19
            related state law claim, unless an independent basis of
20
            subject matter jurisdiction existed. In this situation, the
21
            plaintiff would be forced to choose among three
22
            unsatisfactory alternatives.
23
24
25
     70
26      Executive Software, 24 F.3d at 1556 (emphasis added).
     71
27      Executive Software, 24 F.3d at 1556.
     72
        Executive Software, 24 F.3d at 1557 (emphasis added).
28
     73
        Executive Software, 24 F.3d at 1557.
                                           23
     Opposition to Motion to Dismiss               Case: 2:20-cv-00951-JAK-PJW
1          First, the plaintiff could split the action, proceeding on the
2          federal law claim in federal court and on the state law claim
3          in state court. In addition to imposing unnecessary expense and
4          inconvenience on both the litigants and the judicial system in
5          conducting two lawsuits, the plaintiff would face res judicata
6          and collateral estoppel issues in the later concluded action.
7
8          The plaintiff's second alternative would be to abandon the
9          state law claim entirely and proceed only on the federal law
10         claim in federal court. This option is unfair to the plaintiff who
11         possesses a substantial state law claim, but desires to have the
12         federal law claim decided in a federal forum.
13
14         Third, the plaintiff could bypass the federal forum entirely in
15         order to proceed on both the federal and state law claims in a
16         single lawsuit in state court . . . this option deprives a plaintiff
17         with a legitimate federal law claim from having that claim
18         adjudicated in a federal forum. Such a result runs contrary to
19         one of the principal purposes for creating the federal court
20         system—to provide a forum for the adjudication of federal
21         law claims.
22
                  [Denis F. McLaughlin, The Federal Supplemental
23
                  Jurisdiction    Statute--A    Constitutional     and
24
                  Statutory Analysis, 24 Ariz. St. L.J. 849, 863–64
25
                  (1992) (emphasis added, internal quotes and
26
                  cites omitted for readability).]
27
28


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     Opposition to Motion to Dismiss               Case: 2:20-cv-00951-JAK-PJW
1    VII. Conclusion
2          Plaintiﬀ respectfully request this court deny Veler’s motion to
3    dismiss the case.
4
5    Dated: July 24, 2020              CENTER FOR DISABILITY ACCESS
                                             /s/ Russell Handy
6
                                       By:                      .
7
                                       Russell Handy, Esq.
8                                      Attorneys for Plaintiff
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